           USDC IN/ND case 3:25-mj-00010-SJF                     document 1          filed 01/23/25         page 1 of 8
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  Northern District
                                                __________  DistrictofofIndiana
                                                                         __________

                  United States of America                        )
                             v.                                   )
                                                                  )      Case No.
                    DOUGLAS THRAMS                                )                  3:25-mj-10
                                                                  )
                                                                  )
                                                                  )                   ),/('81'(56($/
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               January 20-22, 2025             in the county of               Elkhart           in the
     Northern          District of           Indiana         , the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C. section 875(c)                      Interstate Communications with a threat to injure




         This criminal complaint is based on these facts:
SEE ATTACHED AFFIDAVIT




         ✔ Continued on the attached sheet.
         u

                                                                                              7D\ORU3OHW]
                                                                                            Complainant’s signature

                                                                                            SA Taylor Pletz, FBI
                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             01/23/2025                                                                 s/Scott J. Frankel
                                                                                               Judge’s signature

City and state:                      South Bend, Indiana                      Honorable Scott Frankel, US Magistrate Judge
                                                                                             Printed name and title
 USDC IN/ND case 3:25-mj-00010-SJF     document 1    filed 01/23/25   page 2 of 8



                                 AFFIDAVIT

      Comes now your affiant, Taylor Pletz, Federal Bureau of Investigation

Special Agent, being sworn, deposes and states the following:

                                 Introduction

      I am a Special Agent with the Federal Bureau of Investigation (“FBI”)

and have been so employed since June of 2024. I am currently assigned to

the FBI’s Indianapolis Field Office where I am a part of the Joint Terrorism

Task Force (“JTTF”). As such, I investigate violations of federal law

including violations of 18 U.S.C. § 875(c) (interstate communications with a

threat to injure). I am a “federal law enforcement officer” within the meaning

of Rule 41(a)(2)(C) of the Federal Rules of Criminal Procedure, that is, a

government agent engaged in enforcing the criminal laws and duly

authorized by the Attorney General to request a search warrant. I am also

an “investigative or law enforcement officer” within the meaning of 18 U.S.C.

§ 2510(7), that is, an officer of the United States who is empowered by law to

conduct investigations of, and to make arrests for, offenses enumerated in 18

U.S.C. § 2516.


      I have successfully completed training at the FBI Academy, Quantico,

Virginia. During my training at the Academy, I received training in a variety

of investigative and legal matters, including the topics of Fourth Amendment



                                                                                    1
 USDC IN/ND case 3:25-mj-00010-SJF      document 1    filed 01/23/25   page 3 of 8


searches, the drafting of search warrant affidavits, and probable cause. As a

Special Agent, I am authorized to investigate violations of federal laws and to

execute warrants issued under the authority of the United States of America.


      Prior to my employment as a Special Agent, I was a Tactical Specialist

for the FBI, having worked on a Domestic Terrorism squad for approximately

two and half years.


      Through training and experience in investigating threats against the

government to include interstate communication of a threat, as well as upon

information related to me by other individuals, including conversations with

other law enforcement officers, I am familiar with the methods used by

individuals who commit such crimes. These types of crimes can be planned in

advance. Individuals who commit these crimes can often have a manifesto,

either digitally or written, detailing their desires for the attacks and the

methods they plan to use when conducting the attack. In order to prevent

such violent acts, intervention must occur prior.


      Based on my training and experience, I know that Title 18, United

States Code, Section 875(c) provides that it is unlawful for any person to

transmit in interstate or foreign commerce any communication containing

any threat to kidnap any person or any threat to injure the person of another.




                                                                                     2
 USDC IN/ND case 3:25-mj-00010-SJF     document 1    filed 01/23/25   page 4 of 8


      is unlawful for any person who has previously been convicted of a

crime punishable by imprisonment for over one year to possess any firearm

that has been shipped or transported in interstate or foreign commerce.

                             Person to be arrested

      I seek to arrest and criminally complain Douglas THRAMS (DOB:

07/XX/2001) for violations of Title 18, United States Code, Section 875(c).

                               The Investigation

      The information contained in this affidavit was developed during an

investigation conducted by the Federal Bureau of Investigation (FBI).

Further information was gathered by the Goshen Police Department, by

reviewing reports and conducting research as it relates to Douglas THRAMS,

who posted multiple videos threatening violence in furtherance of an anti-

government ideology, in the City of Goshen, Elkhart County, in the Northern

District of Indiana.

      1.     At approximately 17:00 CST on January 22, 2025, the Indiana

Intelligence Fusion Center sent information to the Federal Bureau of

Investigation Indianapolis Division about threats towards the government

that were discovered online. This information was referred to the Indiana

Intelligence Fusion Center by Goshen Police Department Detective Jacob

Lambright.




                                                                                    3
 USDC IN/ND case 3:25-mj-00010-SJF      document 1    filed 01/23/25   page 5 of 8


      2.    These violent threats to the government were made by Douglas

Thrams on his TikTok social media page. TikTok is an internet-based social

media application, and all videos, messages, and other communications on

TikTok travel in interstate and/or foreign commerce. Based on how TikTok

operates, all videos described below traveled in interstate and/or foreign

commerce.

      3.    Thrams posted multiple videos to his TikTok account that

investigators believe to have been posted between on or about January 20 and

22, 2025, described below. In all videos, he is visible, audible, and identifiable.

      4.    In a video posted on TikTok, Thrams had a rifle in his hands and

tapped it while stating: “A friendly little reminder (taps rifle) that we do have

a Second Amendment right. We also have in our Declaration of Independence

the right to take control of the government and even possibly institute a new

one. So I ask the question again -- when, where, what time, give me

coordinates. As long as other people are going to show up, I will show up. I

will bring my Second Amendment right. In fact, I will bring as many as my

Second Amendment rights as I can. But I just need to know when we’re going

to do this, where we’re going to do this, how we’re going to do this, um,

because it needs to be done. It needs to be done. There is literally no way

forward without violence this time. I’m sorry.”




                                                                                     4
 USDC IN/ND case 3:25-mj-00010-SJF      document 1   filed 01/23/25   page 6 of 8


      5.    In another video, Thrams stated: "Hey can we stop talking about

it and actually be about it. Seriously. Stop talking about it. Be about it. Take

your Second Amendment, go to your local government building, and fucking

be about it. You want to see some real fucking change in this world, stop

protesting and stop using your voice, and use your fucking rights. Use your

weapons. That's the only way forward."

      6.    In another video, Thrams stated: "Every US government building

needs be bombed immediately." In the same video, he goes on to state "We

the people need to band together and use our rights, amendments, and

constitutes and take our weapons that are a part of our Second Amendment

right to bear arms and either instill the fear of God in the government or use

those right to outright just overthrow the government and institute a new

one." In reference to President Donald Trump, Thrams stated “he needs to be

assassinated and this time, don’t fucking miss.”

      7.    In another video Thrams stated: "I am down for the cause. I am

down to mow the lawn. I'm down to paint the town red." He additionally

made reference to encourage people to go to their local government buildings

and not go to the Capitol Building like they did for January 6th (presumably a

reference to the events at the US Capitol Building on January 6, 2021). He

stated he is currently looking for some localized groups to join. He then




                                                                                    5
 USDC IN/ND case 3:25-mj-00010-SJF     document 1    filed 01/23/25   page 7 of 8


stated: "You tell me where to point that goddam weapon and we can go Nazi

hunting." Thrams stated in the same video, "It is in our Declaration of

Independence that if we see fit, we the people see fit, that we are being

controlled by a tyrannical government, or just an evil one, that we are legally

allowed to use our rights, laws, amendments, and constitutes to take control

of said government, possibly even enforce a new one if need be. So yes, I'm

down for the cause. Like I said, I'm down to paint the town red, but I'm not

leading shit. Just tell me where to go."




                                      ***




                                                                                    6
 USDC IN/ND case 3:25-mj-00010-SJF       document 1   filed 01/23/25   page 8 of 8


                                  Conclusion

      Because this affidavit is being submitted for the limited purpose of

establishing probable cause for the issuance of an arrest warrant and a

complaint charging Douglas THRAMS with violations of Title 18, United

States Code, Section 875(c), it does not contain all information known to me

concerning this investigation.

      Further your affiant sayeth not.



                            s/Taylor Pletz
                           _________________________________
                           Taylor Pletz, Special Agent
                           Federal Bureau of Investigation




Subscribed and sworn before me
This 23rd day of January, 2025.



 s/Scott J. Frankel
___________________________________
Honorable Scott J. Frankel
United States Magistrate Judge
Northern District of Indiana
South Bend Division




                                                                                     7
